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In the Matter of                                      )
LYLE VANNAHMEN                                        )      DCCC Case No. 16-055
in Disciplinary Proceedings.                          )


                                        MEMORANDUM


       NOW on this 24th day of March, 2017, the Parties meet for a pre-hearing conference.

Dodge Ciiy Community College (1 1.0CCC11 ) is represented by counsel Gienn I. Ke1·bs.

Respondent Lyle VanNahmen is represented by counsel Peter J. Antosh. Beverly G. Temaat is

also present in her capacity as special judicial officer. There are no other appearances.

       WHEREUPON, Respondent presents a number of demands regarding the pending

disciplinary hearing, and each are determined as follows:

        1.     Regarding Respondent's demand for additional discovery materials:

               DCCC indicates it will provide any additional materials responsive to

               Responde11t1s demand at least seven (7) days prior to the date of this hearing.

       2.      Regarding Respondent's demand for assignmeJ:1t of hearing of this matter to an

.i ndependent adjudicative body:

               DCCC denies the request. The Code of Conduct dbes not provide for            assigi~ing


               the heating in a conduct matter to a third party. The Code of Conduct provides

               that conduct review hearings will be conducted so as to insure fairness to the

               student, whfoh is what the College intends to do in this matter.
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         3.      Regarding Respondent's demand for an alternate appeal procedure in the event

appeal is necessary so as to avoid review by the president of the college as he is the principal

complainant against Respondent:

                 DCCC indicates arty ~ppeal shall be assigned to a Cqllege administrator.

         4.      Regarding Respondent's demand that complainants be made available for

questioning at the hearing:

                 DCCC indicates it will make Carla Patee, Keith Thomas, Steven Sites, and Josh

                 Thompson available, and that it will ask Haroid Nolte and Stephanie Lanning if

                 they are willing to testify but will not require thera to do so.

        5.       Regarding Respondent's demand that his counsel be permitted to conduct direct

and   cross~examination   of witnesses:

                 DCCC denies the request. The Code of Conduct allows the student to have an

                 attorney or advisor present The role of the attomey or advisor is limited to

                 advising the. student. The attorney or advisor may not directly question witnesses

                 or the Judicial Hearing Board.

        6.       Regarding Respondent's waiver of rights to a closed hearing and demand that his

hearing be open to the public .and that he b~_.J2§Xmi!ic:;:d to_bring a court reporter and/or

video grapher:

                 DCCC denies the request but Will permit Respofident to make an audio recording

                 of the ptoceedings.




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       7.      Regarding Respondent's demand that he be ptovided with more specific

explanation of his alleged improper conduct:

              DCCC refers Respondent to the March 5, 2017, •rcharging document" which sets

              forth th.e violations of the Code of Conduct alleged by the College.

       8.     Regarding Respondent's demand t11at he be provided with notice of the penalties

he may be subject to if found responsible for misconduct:

              The sanctions fot· violation of the Code of Conduct are found within the Code and

              set forth on pages 82-83 of the 2016-2017 Student Handbook.

       9.     Regarding Respondent's del'nand that his trespass order be immediately lifted:

              DCCC denies the request.

       APPROVED BY:




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